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 IT IS ORDERED as set forth below:



 Date: February 28, 2019
                                               _____________________________________
                                                           James R. Sacca
                                                     U.S. Bankruptcy Court Judge

 _______________________________________________________________




                         UNITED STATES BANKRUPTCY COURT
                          NORTHERN DISTRICT OF GEORGIA
                                 ATLANTA DIVISION

IN RE:                                       CHAPTER 13

KARLEY ANN NGUYEN                            CASE NO. 18-60165-JRS
AKA KARLEY KIMMEL NGUYEN,

       Debtor.
MIDFIRST BANK,                               CONTESTED MATTER
ITS SUCCESSORS AND/OR ASSIGNS,

          Movant,
                                             JUDGE: JAMES R. SACCA
vs.

KARLEY ANN NGUYEN
AKA KARLEY KIMMEL NGUYEN, Debtor,
and CANH X. NGUYEN, Co-Debtor,
and NANCY J. WHALEY, Trustee,

         Respondents.

         ORDER INCORPORATING STIPULATION ON MOTION FOR RELIEF
                 FROM STAY AND ORDER ON CODEBTOR STAY

      Movant has filed a Motion for Relief from Stay [Dkt. 37] with regard to the property
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commonly known as 4435 Settles Bridge Road, Suwanee, GA               30024.    After notice and
opportunity to be heard, it is hereby

         ORDERED that the attached Stipulation between the parties is made the Order of the Court.
It is further

       ORDERED that the codebtor stay of 11 U.S.C. § 1301 is terminated.

                                        End of Document
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                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF GEORGIA
                                   ATLANTA DIVISION

 IN RE:                                               CHAPTER 13

 KARLEY ANN NGUYEN                                    CASE NO. 18-60165-JRS
 AKA KARLEY KIMMEL NGUYEN,

        Debtor.
 MIDFIRST BANK,                                       CONTESTED MATTER
 ITS SUCCESSORS AND/OR ASSIGNS,

            Movant,
                                                      JUDGE: JAMES R. SACCA
 vs.

 KARLEY ANN NGUYEN
 AKA KARLEY KIMMEL NGUYEN, Debtor,
 and NANCY J. WHALEY, Trustee,

          Respondents.


               STIPULATION ON MOTION FOR RELIEF FROM STAY
       (AND FROM CODEBTOR STAY, IF APPLICABLE), AND MOTION TO MAKE
                    STIPULATION AN ORDER OF THE COURT

        A Motion for Relief from Stay with regard to the Property commonly known as 4435
Settles Bridge Road, Suwanee, GA 30024 was scheduled for hearing on February 12, 2019. The
parties hereby stipulate that the motion is settled as follows:

        1. The total post-petition arrearage due to Movant is $__16,555.24__, which consists of
the July, 2018, through the February, 2019, payments of $1,900.03 each, late charges of $304.00,
property inspections of $20.00, and attorney's fees and costs of $1,031.00 incurred in this matter.

         2. The arrearage shall be paid as follows:

                √        Debtor shall pay $____13,341.98___ on or before February 19, 2019.

                         Movant acknowledges receipt of $_________________.

                □      Debtor is entitled to a credit of $_______________ for funds in his/her
                suspense account.
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            √     Debtor shall resume timely post-petition payments to Movant with the
            payment due ______March 1, 2019.__________.

            √      The remaining balance of $__3,213.26___ shall be paid by Debtor to
            Movant, 999 N.W. Grand Avenue, Oklahoma City, OK 73118 or to such address
            as may be designated as follows: Beginning __March 15, 2019__, Debtor shall pay
            an additional $___357.03__ per month, and shall continue to pay said amount on
            the same day of each subsequent month, for a total of _eight_ months, with a final
            payment of $___357.02__ on the same day of the ___ninth__ month.

            □       Movant shall be authorized to file a supplemental or amended proof of
            claim, as appropriate, to have the sum of $___________ paid by the Trustee. This
            claim shall be paid in accordance with the plan. If the plan does not provide for
            this claim, then the claim shall be paid after all secured claims receiving a set
            payment are paid in full.

     3.   THE PARTIES AGREE TO THE FOLLOWING STRICT COMPLIANCE
          PROVISIONS:

                    □        Should Debtor(s) default in payment of any sums specified or in any
                    regular monthly mortgage payments which come due to Movant for the
                    strict compliance period specified in Paragraph 4, then upon notice of
                    default sent by first class mail to Debtor(s) and Debtor(s)’s attorney at such
                    addresses as appear on file with the Court and failure of Debtor(s) to cure
                    such default within 10 days from date of receipt of such notice, Movant may
                    file a motion and Affidavit of default, with service upon Debtor(s) and
                    Debtor(s)’s attorney and the Trustee, and the Court may enter an order
                    lifting the automatic stay, without further notice or hearing.

                    √       There appears to be equity in the property. Therefore, should Debtor
                    default in payment of any sum specified herein, or in any regular monthly
                    mortgage payments which come due to Movant during the strict
                    compliance period specified in Paragraph 4, then upon notice of default sent
                    by first class mail to Debtor, Debtor’s attorney and the Trustee at such
                    addresses as appear on file with the Court and failure of Debtor to cure such
                    default within 10 days from the date of receipt of such notice, Movant may
                    file a motion and affidavit of default, with service upon Debtor, Debtor’s
                    attorney and the Trustee. If no motion to convert case, motion to sell,
                    response disputing the factual allegations of the motion, or response
                    alleging some extraordinary circumstances comparable to those
                    contemplated by Fed. R. Civ. P. 60(b), is filed within 20 days from the date
                    of service of the motion and affidavit of default, then the Court may enter
                    an Order lifting the automatic stay, without further notice or hearing.
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         4. Strict compliance hereunder shall be in force:

                        □      While the arrearage remains uncured.

                        √      For a period of _nine_ months from the date of entry of an Order
                               incorporating this Stipulation.

                        □      While this case remains pending.


       5. In the event relief from stay is granted: 1) any surplus funds realized from foreclosure
otherwise payable to the Debtor(s) shall be paid to the Trustee for the benefit of the Estate; 2) the
Trustee shall cease funding the balance of Movant’s pre-petition arrearage claim and Movant's
amended or supplemental claims, if any; and 3) the 14-day period of Bankruptcy Rule 4001(a)(3)
is waived.

      6. Other:
______________________________________________________________________________
______________________________________________________________________________

         7.     √       The parties stipulate that the codebtor(s) did not appear.

                □       The Motion does not seek relief from the codebtor stay.

                □       The codebtor stay shall remain in effect.

       By their signatures below, the parties consent to the terms of this Stipulation and move the
Court to enter an Order making this Stipulation an Order of the Court.

Dated:          February 8, 2019


Order presented by:

         /s/ J. Kelsey Grodzicki

J. KELSEY GRODZICKI
Attorney for Movant
5565 Glenridge Connector, Suite 350
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 (770)392-0041
Georgia State Bar No. 134259
kgrodzicki@campbellandbrannon.com

                                   Signatures continued on next page
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Consented to by:

       /s/
HOWARD P. SLOMKA by J. Kelsey Grodzicki with express permission
Attorney for Debtor(s)
Georgia State Bar No.__652875__
Overlook III - Suite 1700
2859 Paces Ferry Rd, SE
Atlanta, GA 30339

No Opposition by:

       /s/
Maria Joyner by J. Kelsey Grodzicki with express permission
Attorney for Chapter 13 Trustee
Suntrust Plaza Garden Offices
303 Peachtree Center Avenue, Suite 120
Atlanta, GA 30303
Georgia State Bar No.___118350_____

Notice sent to:

Karley Ann Nguyen aka Karley Kimmel Nguyen
4435 Settles Bridge Rd
Suwanee, GA 30024

Canh X. Nguyen
4435 Settles Bridge Road
Suwanee, GA 30024

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NANCY J. WHALEY
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